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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

  ROBERT KELLY,

                                   Plaintiff,                 Civil Action No. 7:19-cv-11369 (PMH)

                     - against -                              PROPOSED ORDER OF
                                                              DISMISSAL
  The CITY OF MOUNT VERNON, New York, and the
  CITY OF MOUNT VERNON URBAN RENEWAL
  AGENCY, and RICHARD THOMAS, Individually
  and in his capacity as former Mayor of the City of
  Mount Vernon, New York




                                   Defendants.


  IT IS HEREBY ORDERED:

                                                   6 2020 Stipulation of Dismissal, Plaintiff’s:
           THAT pursuant to the parties’ November ___,

  (1) claims of intentional infliction of emotional distress (Sixth Claim for Relief), and (2) claims

  under the Equal Protection Clause of the Fourteenth Amendment of the United States Constitution

  brought pursuant to 42 U.S.C. § 1983 (Second Claim for Relief), only to the extent that such claims

  are raised under a “class-of-one” theory, are hereby dismissed and discontinued with prejudice.

  All parties are to bear their own costs and legal fees with respect to these dismissed claims.

                    9th
  SO ORDERED THIS _________ day of November, 2020.



                                                 _____________________________________
                                                       Philip M. Halpern, U.S.D.J.


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